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                              EXHIBIT 5
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                                       May 26, 2023                              ·

      ·1· · · · · · · · ·UNITED STATES DISTRICT COURT
      · · · · · · · · · ·SOUTHERN DISTRICT OF FLORIDA
      ·2· · · · · · ·IN AND FOR MIAMI-DADE COUNTY, FLORIDA

      ·3· · · · · · ·CASE NO.: 21-60125-CIV-SCOLA/GOODMAN

      ·4· ·JIANGMEN BENLIDA PRINTED CIRCUIT CO, LTD,

      ·5· · · · · · · · ·Plaintiff,

      ·6· ·vs.

      ·7· ·CIRCUITRONIX LLC,

      ·8· · · · · · · · ·Defendant.

      ·9

      10
      · · ·VIDEOTAPED
      11· ·DEPOSITION OF:· HUANG SULAN

      12· ·DATE TAKEN:· · ·May 26, 2023

      13· ·TIME:· · · · · ·9:40 A.M. - 7:49 P.M.

      14· ·PLACE:· · · · · Podhurst Orseck, PA
      · · · · · · · · · · ·1 SE 3rd Avenue
      15· · · · · · · · · ·Suite 2300
      · · · · · · · · · · ·Miami, Florida 33131
      16
      · · ·TAKEN BEFORE:· ·ABBY G. SCHOFEL, FPR
      17· · · · · · · · · ·AND NOTARY PUBLIC

      18

      19

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      ·1· · · · A.· ·Yes.
      ·2· · · · Q.· ·And that you know that he was affiliated with
      ·3· ·Circuitronix LLC, a United States company; right?
      ·4· · · · A.· ·Yes.
      ·5· · · · Q.· ·Did you also learn at some point that he was
      ·6· ·affiliated with a company headquartered or based in Hong
      ·7· ·Kong called Circuitronix Hong Kong Limited?
      ·8· · · · A.· ·Yes.
      ·9· · · · Q.· ·Okay.· So in this interrogatory answer, you
      10· ·say:· Circuitronix, parenthesis, US and HK, are you
      11· ·referring to both of those companies?
      12· · · · A.· ·Yes.
      13· · · · Q.· ·Okay.· When we're talking today just for
      14· ·precision in language, when I say Circuitronix, I will
      15· ·be referring to Circuitronix United States.· If you'd
      16· ·like me to be clearer about it, I can try to say
      17· ·Circuitronix US or CTX US.· Okay?
      18· · · · A.· ·Okay.· You should say CTX US.
      19· · · · Q.· ·CTX US.· Okay.· And if I am referring to
      20· ·Circuitronix Hong Kong, what should I say?· CTX HK or
      21· ·Hong Kong?
      22· · · · A.· ·CTX Hong Kong.
      23· · · · Q.· ·Okay.· CTX US and CTX Hong Kong.
      24· · · · A.· ·Hong Kong.
      25· · · · Q.· ·And I would ask you to do the same?


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      ·1· · · · A.· ·No problem.
      ·2· · · · Q.· ·Okay.· And we can be precise about which
      ·3· ·company we are talking about.
      ·4· · · · A.· ·No problem.
      ·5· · · · Q.· ·You understand that those are two different
      ·6· ·companies; correct?
      ·7· · · · A.· ·Correct.
      ·8· · · · Q.· ·Okay.· So in Interrogatory No. 1, you say:
      ·9· ·Reducing the Circuitronix, parenthesis US and HK, AR.
      10· · · · · · ·I assume AR is accounts receivables?
      11· · · · A.· ·Yes, accounts receivable.
      12· · · · Q.· ·Okay.· Which is the amount of money that those
      13· ·companies owed to Benlida?
      14· · · · A.· ·Yes.
      15· · · · Q.· ·Based upon Benlida's production of printed
      16· ·circuit boards that those companies had ordered from
      17· ·Benlida's factory?
      18· · · · A.· ·Yes.
      19· · · · Q.· ·Okay.· So Benlida's factory produces the
      20· ·circuit boards and CTX US or CTX Hong Kong then owe
      21· ·Benlida the money for that product?
      22· · · · A.· ·Benlida, yes.
      23· · · · Q.· ·So why is it that you put Circuitronix,
      24· ·parenthesis, US and HK that way in the answer?
      25· · · · A.· ·Because these two entities both orders printed


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      ·1· · · · A.· ·Yes.· Yes.· Okay.
      ·2· · · · Q.· ·Okay.· On No. 2, you are suing Circuitronix
      ·3· ·for -- Circuitronix US for $2.1 million roughly in price
      ·4· ·increases; right?
      ·5· · · · A.· ·Price increase, yes.· 2.1 million for both
      ·6· ·Circuitronix Hong Kong and Circuitronix US.· CTX US and
      ·7· ·Hong Kong.
      ·8· · · · Q.· ·Okay.· So that is one of my questions.· That
      ·9· ·number, 2.1 million rounded off, is what both CTX USA
      10· ·and CTX Hong Kong owed Benlida?
      11· · · · A.· ·Yes.
      12· · · · Q.· ·Okay.· So you see our question says the third
      13· ·amended complaint alleges that CTX US owes 2.1 million;
      14· ·do you see that?
      15· · · · A.· ·Until September --
      16· · · · Q.· ·It says Circuitronix LLC in the question?
      17· · · · A.· ·Oh, in the question I saw.· Yes.
      18· · · · Q.· ·Okay.· Did you notice that when you answered
      19· ·this question?
      20· · · · A.· ·How can I answer this?· I -- I --
      21· · · · Q.· ·If you don't know you can just say you don't
      22· ·know or don't remember.
      23· · · · A.· ·I know.· I know.· You are asking only for LLC.
      24· · · · Q.· ·Okay.· Even though you knew we were asking
      25· ·only for CTX US, you provided the answer that you


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      ·1· ·provided?
      ·2· · · · A.· ·Yes.
      ·3· · · · Q.· ·Okay.· So you referenced a meeting in
      ·4· ·December -- December 14, 2016, concerning price
      ·5· ·increases; right?
      ·6· · · · A.· ·Correct.
      ·7· · · · Q.· ·And you say -- I'm summarizing, that the logic
      ·8· ·of the calculation was fixed in the meeting minutes?
      ·9· · · · A.· ·Yes.
      10· · · · Q.· ·And that your BLDs or Benlida's calculations
      11· ·is that $2.1 million rounded off?
      12· · · · A.· ·Yes.
      13· · · · Q.· ·And then you further say that the calculation
      14· ·was set forth in a spreadsheet that you sent to
      15· ·Mr. Kukreja with a number of $3.3 million; right?
      16· · · · A.· ·Yes.
      17· · · · Q.· ·But that that number was brought down due to
      18· ·FIFO to 2.1 million before litigation; correct?
      19· · · · A.· ·Correct.
      20· · · · Q.· ·So I want to ask you a couple of questions
      21· ·about that.· I think it will probably be easier to look
      22· ·at some documents to do that, the ones that you've
      23· ·referenced.· But before we do that, can you explain to
      24· ·me without looking at the documents what the -- what the
      25· ·agreement was that you say in this response that CTX


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      ·1· · · · A.· ·We keep them separated because -- because we
      ·2· ·need to separate the record to -- it means to work on
      ·3· ·that, we cannot combine together because Circuitronix
      ·4· ·Hong Kong issue PO, we have bills, and then we have
      ·5· ·debit notes also separated.· Everything is separate.
      ·6· ·But finally for the receivable, we can -- it means
      ·7· ·combine two number together.
      ·8· · · · Q.· ·So everything is kept separate because you
      ·9· ·have to keep track of things?
      10· · · · A.· ·Yes, keep tracking on the --
      11· · · · Q.· ·But then when it comes to the money that you
      12· ·receive --
      13· · · · A.· ·Yes.
      14· · · · Q.· ·-- you comingled it together?
      15· · · · A.· ·Yes.· Yes.· Yes.
      16· · · · · · ·MR. LERNER:· Objection to the term comingling.
      17· · · · · · ·THE WITNESS:· I don't know what mean by
      18· · · · comingle.· Okay.
      19· ·BY MR. ROSENTHAL:
      20· · · · Q.· ·It means you put them together in the same
      21· ·bucket?
      22· · · · A.· ·Yes.
      23· · · · Q.· ·I mean, basically if you simplify it, if you
      24· ·are taking money and putting it into a bucket as a -- if
      25· ·you do it separate, you would have one bucket for money


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      ·1· ·you received from Circuitronix US.
      ·2· · · · A.· ·Uh-huh.
      ·3· · · · Q.· ·And another bucket for money you received from
      ·4· ·Circuitronix Hong Kong; right?
      ·5· · · · A.· ·Right.
      ·6· · · · Q.· ·If you comingle them, that's just a term or
      ·7· ·mix them together, you would have one bucket and you put
      ·8· ·both sets of dollars in that same bucket; right?
      ·9· · · · A.· ·Right.
      10· · · · Q.· ·Okay.· That is what I mean by comingle.
      11· · · · · · ·So what Benlida was doing with the -- when it
      12· ·received money from Circuitronix Benlida -- I am
      13· ·sorry --
      14· · · · A.· ·US.
      15· · · · Q.· ·-- Circuitronix United States and Circuitronix
      16· ·Hong Kong, it was putting those dollars into the same
      17· ·bucket from an accounting perspective?
      18· · · · A.· ·Yes.· Yes.
      19· · · · Q.· ·Okay.· And the reason that I understand you're
      20· ·saying you felt it was okay to do that --
      21· · · · A.· ·Yes.
      22· · · · Q.· ·-- was that in 2014, Rishi Kukreja signed this
      23· ·business authorization document?
      24· · · · A.· ·Yes.
      25· · · · Q.· ·So if Rishi had approved this putting both


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      ·1· · · · A.· ·I don't know.
      ·2· · · · Q.· ·Okay.· Okay.· So let me just ask you this.
      ·3· ·You understood from Exhibit 98, which is this payment
      ·4· ·detail.
      ·5· · · · A.· ·Uh-huh.· Yes.
      ·6· · · · Q.· ·And is this payment detail similar to other
      ·7· ·payment details that Circuitronix US would send Benlida?
      ·8· · · · A.· ·Yes.
      ·9· · · · Q.· ·They all kind of look the same?
      10· · · · A.· ·Yes.
      11· · · · Q.· ·They just have different data.
      12· · · · A.· ·Yes.
      13· · · · Q.· ·But you understood as you testified that this
      14· ·is Circuitronix US saying, I am paying for the following
      15· ·invoices for this time period?
      16· · · · A.· ·Yes.· Yes.
      17· · · · Q.· ·Right?· And even though I am sending you big
      18· ·round numbers like $300,000.· $480,000, $470,000.
      19· ·$250,000, I want you to apply it to these invoices that
      20· ·are listed here; right?
      21· · · · A.· ·Yes.
      22· · · · Q.· ·Okay.
      23· · · · A.· ·That is what the payment detail did.
      24· · · · Q.· ·I mean, that's a reasonable reading of what
      25· ·this document is?


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     ·1· · · · A.· ·Yes.· Yes.
     ·2· · · · Q.· ·It is what you understood it to be?
     ·3· · · · A.· ·Yes.· Agreed.
     ·4· · · · Q.· ·Okay.· But notwithstanding that, did you also
     ·5· ·know that when the finance department, Ms. Chen, was
     ·6· ·doing the accounts receivable for Circuitronix US --
     ·7· · · · A.· ·Yes.
     ·8· · · · Q.· ·-- she was also mixing the money received from
     ·9· ·Circuitronix US with the money received from
     10· ·Circuitronix Hong Kong in one big bucket essentially?
     11· · · · A.· ·Okay.
     12· · · · Q.· ·You were aware of that; right?
     13· · · · A.· ·Yes.· Yes.· Yes.
     14· · · · Q.· ·Okay.· Were you aware of which -- when you
     15· ·were hearing that there were invoices that remained
     16· ·unpaid from the past, that was part of a discrepancy;
     17· ·right?
     18· · · · A.· ·Okay.
     19· · · · Q.· ·I mean, you're aware of that?
     20· · · · A.· ·Yes.
     21· · · · Q.· ·That was one of the sort of disputes that was
     22· ·going on over time?
     23· · · · A.· ·Yes.
     24· · · · Q.· ·And you and Rishi tried hard to resolve it if
     25· ·you could.


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     ·1· · · · before.· Or worse.
     ·2· · · · · · ·MR. LERNER:· This -- let the record reflect
     ·3· · · · this is day four of depositions and one of us --
     ·4· · · · one of us has had enough.
     ·5· · · · · · ·MR. ROSENTHAL:· Yeah.
     ·6· ·BY MR. ROSENTHAL:
     ·7· · · · Q.· ·So, Tracy, we just handed you I think 99, 100,
     ·8· ·101, -2 and -3 and -4.
     ·9· · · · A.· ·100 okay.
     10· · · · Q.· ·-5, and 106; right?
     11· · · · A.· ·Yes.
     12· · · · Q.· ·Just in the interest of time, take the time
     13· ·you need, but can you flip through those and tell me
     14· ·whether or not these are all payment details that
     15· ·Circuitronix US sent to Benlida --
     16· · · · A.· ·Yes.· From March to October.
     17· · · · · · ·(Whereupon the document was marked as
     18· · · · Defendant's 99-106 for identification purposes
     19· · · · after which the following proceedings were held.)
     20· ·BY MR. ROSENTHAL:
     21· · · · Q.· ·Of 2019?
     22· · · · A.· ·Yes, 2019.
     23· · · · Q.· ·And are you on these e-mails as a recipient?
     24· · · · A.· ·Yes.
     25· · · · Q.· ·Okay.· So you don't question that you received


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     ·1· ·these e-mails from Circuitronix on the dates that
     ·2· ·they -- that these e-mails state?
     ·3· · · · A.· ·No, don't have any question.· I did receive
     ·4· ·this.
     ·5· · · · Q.· ·Okay.· And so is it fair to say that it was at
     ·6· ·least during the period that is reflected in Exhibits
     ·7· ·98 -- I'll go backwards one -- through 105?
     ·8· · · · A.· ·105.
     ·9· · · · Q.· ·I am sorry 106; right?
     10· · · · A.· ·6, yes.
     11· · · · Q.· ·That Circuitronix US actually on a very
     12· ·regular basis sent Benlida --
     13· · · · · · ·MR. LERNER:· Objection.
     14· ·BY MR. ROSENTHAL:
     15· · · · Q.· ·-- payment details for consecutive months that
     16· ·then attached the -- not only listed the payments that
     17· ·they are saying they are paying those listed invoices
     18· ·for, but even attached some type of record of the bank
     19· ·payment.
     20· · · · A.· ·This is only this period and only Circuitronix
     21· ·US.· Nothing I can get -- we -- we receive from
     22· ·Circuitronix Hong Kong.
     23· · · · Q.· ·But is the answer to the question I asked yes?
     24· · · · A.· ·Yes.
     25· · · · Q.· ·Okay.


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     ·1· · · · A.· ·Price discrepancy issue, yes.
     ·2· · · · Q.· ·Right.· Which at some point was identified at
     ·3· ·different amounts, $311,000, then $500,000, then
     ·4· ·$700,000 it looked at --
     ·5· · · · A.· ·Yes.
     ·6· · · · Q.· ·-- for the year -- whatever the time period
     ·7· ·was at the time.· The business continued between the two
     ·8· ·companies and there was still money coming into Benlida
     ·9· ·from Circuitronix US?
     10· · · · A.· ·And also Circuitronix Hong Kong.
     11· · · · Q.· ·And also Circuitronix Hong Kong; correct.
     12· · · · · · ·And you've explained that the accounting
     13· ·department at Benlida used one bucket of moneys coming
     14· ·in from both Circuitronix Hong Kong and Circuitronix US
     15· ·and applied that money against both invoices from
     16· ·Circuitronix Hong Kong and Circuitronix US?
     17· · · · A.· ·Yes.
     18· · · · Q.· ·Or not from those companies, but to those
     19· ·companies, the invoices that were sent to them?
     20· · · · A.· ·Yes.· Yes.
     21· · · · Q.· ·And did you ever tell Rishi Kukreja in 2017,
     22· ·2018 --
     23· · · · A.· ·Uh-huh.
     24· · · · Q.· ·-- when you were asking him to pay $2.5
     25· ·million or $2.8 million by a certain date that when he


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     ·1· ·paid that, you're going to be applying it to invoices
     ·2· ·from years before because of Benlida's view of what
     ·3· ·Circuitronix USA owes it?
     ·4· · · · A.· ·Because what?· Can you repeat?
     ·5· · · · · · ·MR. ROSENTHAL:· Sure.· Would you mind
     ·6· · · · repeating my question?
     ·7· · · · · · ·(Whereupon the requested portion was read back
     ·8· · · · by the court reporter after which the following
     ·9· · · · proceedings were held.)
     10· · · · · · ·MR. ROSENTHAL:· And then I said did you
     11· · · · ever -- oh, yeah, that's it.· You are right.
     12· · · · Sorry.
     13· · · · · · ·THE WITNESS:· No, I didn't tell this to Rishi.
     14· · · · No.
     15· ·BY MR. ROSENTHAL:
     16· · · · Q.· ·Okay.· And why not?
     17· · · · A.· ·Because this is our books and you are saying
     18· ·the wrong -- it should not say that we are -- at that
     19· ·time absolutely not paying one years ago invoice.· But
     20· ·at that time, I don't know -- for example, some month of
     21· ·2017 and now, I didn't remember at that time when we
     22· ·collect the payment and which invoice is the oldest
     23· ·invoice would apply.· Okay.· So absolutely not one years
     24· ·ago.· Because during that days, our transaction is
     25· ·around Circuitronix Hong Kong and Circuitronix US


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     ·1· ·together should be 2 million something every month.· So
     ·2· ·even though we have a gap, it should not go back to one
     ·3· ·years ago.· This is -- we are talking about more than 10
     ·4· ·million US dollar.· So I don't think so.
     ·5· · · · Q.· ·So when you identified this gap -- I am
     ·6· ·sorry -- when -- yeah, when you identified this gap in
     ·7· ·Exhibit 109, which was your e-mail from November 3rd,
     ·8· ·2016, of $700,000 for the year 2015?
     ·9· · · · A.· ·700 US --
     10· · · · Q.· ·Number three on your list there at the top?
     11· · · · A.· ·Invoice discrepancy 700 -- okay.
     12· · · · Q.· ·When you -- when you identified that dispute
     13· ·about $700,000 that you said Circuitronix owed Benlida
     14· ·from 2015 --
     15· · · · A.· ·Yes.
     16· · · · Q.· ·-- you didn't tell Rishi Kukreja or anybody at
     17· ·Circuitronix that when you would be collecting
     18· ·$2.8 million that you were asking for that you would be
     19· ·applying that to wipe out the $700,000 difference, did
     20· ·you?
     21· · · · A.· ·No.
     22· · · · Q.· ·Because you were applying -- you understood
     23· ·that it would be used for the $2.74 million of invoices
     24· ·that your company had just sent to Circuitronix; right?
     25· · · · A.· ·This is not the logic.· Even for Circuitronix,


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     ·1· ·they are using the FIFO.· So -- so we are also using the
     ·2· ·FIFO.· So that is -- it means the methodology.· So why I
     ·3· ·need to tell Rishi on that?· I just need to tell him
     ·4· ·that we have the difference on the invoice.· So how it
     ·5· ·books, it doesn't change the fact that we have the
     ·6· ·discrepancy.· And this is Circuitronix owe us.· Right?
     ·7· · · · · · ·MR. LERNER:· That's right.
     ·8· · · · · · ·MR. ROSENTHAL:· One vote for it's right from
     ·9· · · · your lawyer.
     10· ·BY MR. ROSENTHAL:
     11· · · · Q.· ·Let's take a look at another exhibit, which we
     12· ·will mark 1251, which is what number?· 110.
     13· · · · · · ·So at the bottom of page 1251.· It's an e-mail
     14· · · · from November 17th, 2016 --
     15· · · · A.· ·Okay.
     16· · · · Q.· ·-- soon after the one we just looked at.· And
     17· ·you e-mailed Rishi and the subject is payment need in
     18· ·November.· And you wrote the following, tell me if I am
     19· ·reading this correctly:· Please confirm that $500,000
     20· ·already come out from CTX.· I am under big pressure of
     21· ·collecting CTX payment.· In our accounting books after
     22· ·we receive 500,000 last week, 3.2 million is due in
     23· ·November.· Since invoice discrepancy in 2015 and 2016 is
     24· ·still pending to resolve, I cannot explain anymore to
     25· ·them.· Invoice discrepancy was put out in beginning of


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